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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

PRETERM-CLEVELAND, et al.,                            :
                                                      :
              Plaintiffs,                             :      Case No. 1:19-cv-00360
                                                      :
       v.                                             :
                                                      :      Judge Michael R. Barrett
ATTORNEY GENERAL OF OHIO, et al.,                     :
                                                      :
              Defendants.                             :


        DEFENDANTS’ NOTICE OF APPEAL AND REQUEST FOR STAY


       Defendants, Ohio Attorney General Dave Yost, Ohio Department of Health, and the

State Medical Board of Ohio in the above-captioned action hereby gives notice of their

appeal to the United States Court of Appeals for the Sixth Circuit from the Temporary

Restraining Order [Doc. 43] entered by the Court on March 30, 2020. Further, Defendants

respectfully request that the Court issue a stay of its March 30, 2020 Order pending appeal

pursuant to Fed. R. App. P. 8(1)(A).

       This appeal is taken under 28 U.S.C. § 1292.

       Respectfully submitted this 1st day of April, 2020.

                                            Respectfully Submitted,
                                            DAVE YOST
                                            Ohio Attorney General

                                            /s/ Heather L. Buchanan
                                            HEATHER L. BUCHANAN (0083032)
                                            BRIDGET C. COONTZ (0072919)
                                            MICHAEL A. WALTON (0092201)
                                            Assistant Attorneys General
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                                             Constitutional Offices Section
                                             30 East Broad Street, 16th Floor
                                             Columbus, Ohio 43215
                                             Tel: 614-466-2872 | Fax: 614-728-7592
                                             heather.buchanan@ohioattorneygeneral.gov
                                             bridget.coontz@ohioattorneygeneral.gov
                                             michael.walton@ohioattorneygeneral.gov

                                             Counsel for Defendants Ohio Department of
                                             Health, State Medical Board of Ohio, and Ohio
                                             Attorney General Dave Yost


                             CERTIFICATE OF SERVICE

       I hereby certify that on April 1, 2020, the foregoing was filed electronically. Notice

of this filing will be sent to all parties for whom counsel has entered an appearance by

operation of the Court’s electronic filing system. Parties may access this filing through the

Court’s system.


                                             /s/ Heather L. Buchanan
                                             HEATHER L. BUCHANAN (0083032)
                                             Assistant Attorney General
